Case 3:16-md-02738-MAS-RLS   Document 33291-1   Filed 09/20/24   Page 1 of 5
                             PageID: 258583



                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY

                                    )
IN RE: JOHNSON & JOHNSON            )
TALCUM POWDER PRODUCTS              )
MARKETING, SALES PRACTICES AND )            MDL Docket No. 2738
PRODUCTS LIABILITY LITIGATION       )
___________________________________ )
                                    )
This Document Relates To All Cases  )
                                    )

  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
   LLC’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
       STRIKE THE PLAINTIFFS’ STEERING COMMITTEE’S
   SUPPLEMENTAL BRIEF IN SUPPORT OF ITS OPPOSITION TO
  DEFENDANTS’ MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’
 GENERAL CAUSATION OPINIONS AND AFFIDAVIT OF DR. DAVID
                             MUTCH
  ______________________________________________________________

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Case 3:16-md-02738-MAS-RLS          Document 33291-1      Filed 09/20/24   Page 2 of 5
                                    PageID: 258584



       Plaintiffs have once again ignored this Court’s scheduling orders and

attempted to submit untimely arguments and evidence, this time in the form of a

“supplemental” opposition to defendants’ general causation motion and supporting

affidavit by Dr. David Mutch—a former member of the Society of Gynecologic

Oncology (“SGO”), who also treated one of the plaintiffs in this litigation.1 The

Court should strike these filings because they were submitted two weeks after the

deadline for serving any response to defendants’ motion. Alternatively, defendants

should be allowed to depose Dr. Mutch about the circumstances surrounding the

affidavit.

                                    ARGUMENT
       “It is beyond question that [a] District Court has the authority to strike

filings that fail to comply with its local rules.” Brown v. City of Philadelphia, 541

F. Supp. 3d 605, 612 (E.D. Pa. 2021) (citation omitted). This Court set the

deadline for all Daubert motions and oppositions to be filed by July 23 and August

22, respectively (Scheduling Order at 2, July 22, 2024 (ECF 32991)), but plaintiffs

now seek to submit an entirely new brief and additional evidence regarding general


1
       Notably, Dr. Mutch testified at his deposition in Anna Gallardo’s case that
he “do[es] not believe that talc increases a risk of ovarian cancer.” (Dep. of David
Mutch 59:9-22, Gallardo v. Johnson & Johnson, No. 3:18-cv-10840 (D.N.J. Feb.
13, 2021) (Ex. 1 to Decl. of Susan M. Sharko); id. 61:12-19 (similar); see also id.
60:4-14 (“Q. [I]n caring and treating Ms. Gallardo, do you not believe that talc use
caused her endometrioid ovarian cancer? . . . [A.] [B]ased on what I know, which
is substantial . . . the answer to that would be yes.”); id. 62:4-25.)
Case 3:16-md-02738-MAS-RLS          Document 33291-1       Filed 09/20/24    Page 3 of 5
                                    PageID: 258585



causation two weeks past the Daubert filing deadline. This is not an isolated

violation; rather, as the Court is aware, plaintiffs already tried to inject an entirely

new expert who had no previous involvement in this litigation nearly two months

after the deadline for expert disclosures and did so by way of an attachment to a

motion to exclude a timely-disclosed defense expert. (See ECF 33011-1 & 33011-

11.) Defendants have moved to strike that expert’s opinions, and the Court should

strike the “supplemental” brief and affidavit of Dr. Mutch as well. In re TMI

Litig., 193 F.3d 613, 722 (3d Cir. 1999), amended, 199 F.3d 158 (3d Cir. 2000)

(court “responded appropriately” to a party’s “practice of continually ignoring . . .

deadlines” by excluding proffered evidence); Kelly v. DeJoy, No. 19-204, 2021

WL 914207, at *3 (W.D. Pa. Mar. 10, 2021) (striking untimely response to motion

for summary judgment; “[i]t is troubling that [p]laintiff’s non-compliance with the

Local Rules of Court and the Case Management Order was not an isolated incident

in this case”). 2


2
       Plaintiffs’ purported “additional support” for their general causation
arguments (Pls.’ Suppl. Br. at 1 (ECF 33252)) is, in any event, meritless. The gist
of plaintiffs’ argument—that SGO “‘did not undertake [a] systematic or exhaustive
review of the scientific and medical research’ on talc products and ovarian cancer”
(Pls.’ Suppl. Br. at 3 (quoting Aff. of David Mutch (“Mutch Aff.”) ¶ 11, Sept. 4,
2024 (Pls.’ Suppl. Br. Ex. 1)))—misses the point. Dr. Mutch’s affidavit expressly
acknowledges that the SGO did in fact consider the “studies” on talc and ovarian
cancer (Mutch Aff. ¶ 12), belying any suggestion that the SGO was somehow blind
to the literature upon which plaintiffs’ experts are relying in deciding not to list talc
as a risk factor for ovarian cancer. The same logic also applies to an affidavit
                                                                                    (cont'd)


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Case 3:16-md-02738-MAS-RLS         Document 33291-1      Filed 09/20/24   Page 4 of 5
                                   PageID: 258586



      Alternatively, if the Court decides to consider plaintiffs’ untimely

submissions, defendants respectfully submit that they should be afforded the

opportunity to depose Dr. Mutch about the substance and circumstances

surrounding his affidavit, particularly given his status as a percipient witness

whose prior testimony is at odds with plaintiffs’ theory of causation.

                                  CONCLUSION

      For the foregoing reasons, the Court should strike plaintiffs’ supplemental

brief on general causation and Dr. Mutch’s affidavit in support thereof or,

alternatively, permit defendants to depose Dr. Mutch about this new document.


Dated: September 20, 2024                Respectfully submitted,

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plaintiffs attached to their opposition to defendants’ general causation motion
addressing the American College of Obstetricians and Gynecologists (“ACOG”).
(ECF 33129 at 37.) Even assuming it were proper to serve what is essentially an
expert affidavit in a Daubert opposition, the affidavit expressly acknowledges that
ACOG considered the “medical research” and agreed that “[t]here is no medical
consensus that talcum powder causes ovarian cancer.” (Aff. of Nancy O’Reilly ¶
7, Aug. 14, 2024 (ECF No. 33130-45) (citation omitted).)


                                          3
Case 3:16-md-02738-MAS-RLS   Document 33291-1   Filed 09/20/24   Page 5 of 5
                             PageID: 258587



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